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6
                                    IN THE UNITED STATES DISTRICT COURT
7
                                        EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                              CASE NO. 1:15-CR-00169 LJO-SKO
9
                                   Plaintiff,               STIPULATION TO CONTINUE STATUS
10                                                          CONFERENCE AND ORDER THEREON
                            v.
11
     MANUEL GARCIA,
12     AKA, “TECATE,” AKA “TECATO,”
       AKA, “TONY VARGAS,”
13   JORGE MARISCAL,
       AKA, “PILAS,”
14   VICTOR SANCHEZ,
       AKA, “TORO,”
15   TERESA MENDOZA,
     ABRAHAM CHAVEZ, AND
16   JAZMIN DURAN,

17                                Defendants.

18

19           IT IS HEREBY STIPULATED by and between Benjamin B. Wagner, United States Attorney and

20   Kimberly A. Sanchez, Assistant U.S. Attorney and Virna Santos, Kevin Little, Carol Moses, Roger Wilson,

21   Gary Huss, and Galatea DeLapp, attorneys for the defendants, that the status conference set for October 5,

22   2015 at 1:00 pm before the Honorable Sheila K. Oberto be continued to November 30, 2015 at 1:00 p.m.

23   The reason for the request is the government has not yet received lab reports from the DEA lab for the

24   controlled substances that are the subject of the instant charges. The case agent spoke with the lab on

25   September 29, 2015, and was informed that the results would not be done for approximately 1-2 months.

26   The parties agree that defense needs time to receive and review the lab reports, and the parties require further

27   investigation regarding sentencing matters to ascertain whether motions, a plea, and/or a trial will be

28   requested.

       Stipulation                                          1
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1             The parties further request the Court to enter an Order finding that the "ends of justice" served by a

2    continuance outweigh the interest of the public and the defendant in a speedy trial, and that the delay

3    occasioned by such continuance is excluded from the Act's time limits pursuant to 18 U.S.C. §

4    3161(h)(7)(A).

5

6             Dated: October 1, 2015                                  Respectfully submitted,

7                                                                     BENJAMIN B. WAGNER
                                                                      United States Attorney
8

9
                                                              By      /s/ Kimberly A. Sanchez
10                                                                    KIMBERLY A. SANCHEZ
                                                                      Assistant U.S. Attorney
11
              Dated: October 1, 2015                                  /s/ Virna Santos
12                                                                    VIRNA SANTOS
                                                                      Attorney for Manuel Garcia
13
              Dated: October 1, 2015`                                 /s/ Carol Moses
14                                                                    CAROL MOSES
15                                                                    Attorney for Jorge Mariscal

16            Dated: October 1, 2015                                  /s/ Roger Wilson
                                                                      ROGER WILSON
17                                                                    Attorney for Victor Sanchez

18            Dated: October 1, 2015                                  /s/ Kevin Little
                                                                      KEVIN LITTLE
19                                                                    Attorney for Abraham Chavez
20
              Dated: October 1, 2015`                                 /s/ Galatea DeLapp
21                                                                    GALATEA DeLAPP
                                                                      Attorney for Jazmin Duran
22
              Dated: October 1, 2015                                  /s/ Gary Huss
23                                                                    GARY HUSS
                                                                      Attorney for Teresa Mendoza
24
                                                         ORDER
25

26
     IT IS SO ORDERED.
27
     Dated:     October 1, 2015                                       /s/ Sheila K. Oberto
28                                                         UNITED STATES MAGISTRATE JUDGE

       Stipulation                                           2
30
